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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF LOUISIANA
                         LAKE CHARLES DIVISION



   THE STATE OF LOUISIANA, et al.,

                    Plaintiffs,

           v.                              Case No. 2:21-cv-01074-JDC-KK

   JOSEPH R. BIDEN, JR., in his official
   capacity as President of the United
   States,
   et al.,

                    Defendants.




                        EXHIBIT 1:
     Declaration of Dominic J. Mancini
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   THE STATE OF LOUISIANA, et al.,

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   JOSEPH R. BIDEN, JR., in his official
   capacity as President of the United
   States, et al.,

                     Defendants.


        DECLARATION OF DOMINIC J. MANCINI SUBMITTED IN
   SUPPORT OF DEFENDANTS’ MOTION FOR A STAY PENDING APPEAL

  Pursuant to 28 U.S.C. § 1746, I, Dominic J. Mancini, declare the following to be true

  and correct:


     1. I am the Deputy Administrator of the Office of Information and Regulatory

  Affairs (OIRA) of the Office of Management and Budget (OMB), which is an office

  within the Executive Office of the President. I have held the position of Deputy

  Administrator since 2013.        As part of my duties, in the absence of a confirmed

  Administrator of OIRA, I have often been delegated the duties of the Administrator,

  and I am currently serving in the capacity. In addition, I have held various positions

  with OIRA, including serving as Branch Chief for natural resources and the

  environment, and as the Economist for health, transportation, and general

  government. Prior to joining OIRA, I worked as an economist at the Food and Drug
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  Administration, preparing regulatory impact analyses for economically significant

  regulations. I have degrees in economics and finance from the University of Florida,

  and a PhD in economics from the University of North Carolina at Chapel Hill.

     2. I understand that, in the above-captioned case, the Court has entered a

  Preliminary Injunction that, among other things, prohibits federal agencies “from

  adopting, employing, treating as binding, or relying upon” the work product of the

  Interagency Working Group on the Social Cost of Greenhouse Gases (the “Working

  Group” or “IWG”), and any estimates of the social cost of greenhouse gases that are

  based on “global effects” or that “do[] not utilize discount rates of 3 and 7 percent.” I

  submit this declaration in support of the Defendants’ motion for a stay pending

  appeal in the above-captioned case. I make the statements herein based upon my

  personal knowledge and information made available to me in my official capacity.

                                     BACKGROUND

     3. The Office of Information and Regulatory Affairs (“OIRA”) is a statutory part

  of the Office of Management and Budget (“OMB”) within the Executive Office of the

  President. OIRA is the Federal Government’s central authority for, among other

  things, the review of Executive Branch regulations.

     4. Executive Order (“EO”) 12866, issued on September 30, 1993, assigned OIRA

  the responsibility of coordinating interagency Executive Branch review of significant

  regulations before publication. This ensures agency compliance with the principles

  in EO 12866, which include providing meaningful public comment opportunities,

  considering alternatives to the rulemaking, and assessing both costs and benefits.



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  OIRA review helps to ensure that agencies disclose and carefully consider the

  consequences of rules, including both benefits and costs, before they proceed.

     5. Specifically, EO 12866 established a detailed regulatory-review process to be

  coordinated by OMB and OIRA in which all agencies, except “independent regulatory

  agencies,” must participate. EO 12866 § 3(b). For significant regulatory actions, EO

  12866 requires an assessment of the anticipated costs and benefits of the agency’s

  proposal. See id. § 6(a)(3)(B), (C). The Executive Order directs an agency to provide

  OIRA with a written explanation of why it opted for the proposed action and how it

  best meets the need for the action. See id. § 6(a)(3)(B)(i)–(ii), (C)(iii). OIRA then

  reviews the agency’s action. See id. § 6(b)(2). If an agency proposes or finalizes a

  significant rule that requires a more-detailed analysis of costs and benefits, one

  product of this process, often called a Regulatory Impact Analysis (“RIA”), is

  published alongside it. See id. § 6(a)(3)(E).

     6. Such regulatory analysis provides a formal means of organizing the evidence

  on the key effects—both good and bad—of the various alternatives that should be

  considered in developing regulations. Among the purposes are (1) to learn if the

  quantitative and qualitative benefits of an action are likely to justify the costs; (2) to

  promote accountability to the public; and (3) to discover which of various possible

  alternatives would produce the highest net benefits, both in a formal, quantitative

  manner, as well as when taking qualitative effects into account. Sometimes careful

  analysis can show that a less stringent alternative is best; sometimes more stringency

  will be shown to be justified; sometimes a creative option will emerge.



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                                          CIRCULAR A-4

     7. OMB guidance, in particular Circular A-4, “is designed to assist analysts in the

  regulatory agencies by defining good regulatory analysis” when developing RIAs that

  comply with EO 12866. Office of Mgmt. & Budget, Circular A-4, at 1 (2003). Among

  other things, Circular A-4 emphasizes that agencies “should monetize quantitative

  estimates whenever possible.” Id. at 27. Furthermore, as Circular A-4 explains, a

  good cost-benefit analysis will monetize more than just direct effects: Agencies should

  include “any important ancillary benefits and countervailing risks.” Id. at 26. In

  addition, and importantly, Circular A-4 emphasizes that agencies “cannot conduct a

  good regulatory analysis according to a formula. Conducting high-quality analysis

  requires competent professional judgment.                Different regulations may call for

  different emphases in the analysis, depending on the nature and complexity of the

  regulatory issues and the sensitivity of the benefit and cost estimates to the key

  assumptions.” Id. At 3.

     8. In circumstances where estimated               costs and benefits of regulations may

  accrue well into the future, Circular A-4 describes how agencies should adjust the

  estimated impacts, taking into account these longer time horizons for future effects—

  namely, by choosing appropriate discount rates (including those that account for

  “intergenerational effects”) 1 and selecting an end point “far enough in the future to

  encompass all the significant benefits and costs likely to result from the rule.” Id. at

  31–32.


         1 A discount rate is an interest rate used to convert future monetary sums into present-value
  equivalents. See OMB, Circular A-4, at 31–32.

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      9. Circular A-4 specifically recommends that agencies provide estimates of costs

  and benefits using both a 3% and 7% discount rate. 2                       Though Circular A-4

  recommends agencies consider a consumption-based discount rate of 3% and a

  capital-based discount rate of 7% as “default . . . approximation[s],” Circular A-4 first

  explains that the “analytically preferred method” for discounting “is to adjust all the

  benefits and costs to reflect their value in equivalent units of consumption and to

  discount them at the rate consumers and savers would normally use.” Id. at 33. Since

  2010, the Interagency Working Group has noted that its estimates of climate

  damages are in “consumption-equivalent units” and that a “consumption rate of

  interest,” like 3%, “is the correct discounting concept to use when future damages

  from elevated temperatures are estimated in consumption-equivalent units.” IWG,

  Technical Support Document: Social Cost of Carbon for Regulatory Impact Analysis

  23 (2010). In other words, the “analytically preferred method” for discounting the

  social cost of greenhouse gases, where the integrated assessment models used in the

  calculation express their results in consumption units, is to focus on consumption-

  based rates and not to use the capital-based 7% rate.

      10. This is especially true for rules with intergenerational effects, for which

  Circular A-4 recommends agencies consider further sensitivity analysis assessing


  2 A consumption-based rate reflects the value at which society trades off present for future
  consumption, and is thought to be most appropriate when regulations primarily and directly affect
  private consumption, such as through higher consumer prices for goods and services. The rate of
  return on long-term government debt is often used as an approximation for the social rate of time
  preference and the consumption-based discount rate. A capital-based rate reflects the opportunity
  cost of capital and is thought to be most appropriate if regulatory requirements crowd out private
  investment opportunities and potential future returns on such investments. An average before-tax
  rate of return to private capital in U.S. markets is often used as an approximation. Circular A-4 at
  33.

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  impacts “using lower but positive discount rate[s].” Circular A-4, at 36. Specifically,

  Circular A-4 discusses the many reasons why it may be appropriate for analyses to

  include the presentation of long-term impacts using lower discount rates, and also

  explicitly discusses the circumstances in which rates at or lower than 3% could be

  appropriate for RIAs.       These include, as discussed in the Circular, ethical

  considerations for intergenerational analysis and the impact of discount-rate

  uncertainty across time that could lead to an emphasis on lower or declining rates.

  Id. at 35-36. While not discussed directly with respect to discount rates, A-4 also

  points out that the “uncertain knowledge of how some economic activities might affect

  future climate change” is a likely source of such longer-term uncertainty. Id. at 38.

  In short, for the many reasons cited in Circular A-4, RIAs that include analyses using

  discount rates of lower than 3% may be appropriate.

     11. Circular A-4 also provides guidance to agencies on how to determine the

  proper scope of analysis for a given regulatory action. The default recommendation

  is for agencies first to “focus on benefits and costs that accrue to citizens and residents

  of the United States.” Id. at 15. Circular A-4 also gives agencies the discretion to

  evaluate the global impacts of regulation, however, stating that “[w]here you choose

  to evaluate a regulation that is likely to have effects beyond the borders of the United

  States, these effects should be reported separately.” Id. at 15. In addition, in the

  section in Circular A-4 calling for analysis showing that Federal regulation is

  appropriate, it states that “the role of Federal regulation in facilitating U.S.

  participation in global markets should also be considered. Harmonization of U.S. and



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  international rules may require a strong Federal regulatory role. Concerns that new

  U.S. rules could act as non-tariff barriers to imported goods should be evaluated

  carefully.” Id. at 6. In short, similar to discount rates that vary from the 3 and 7

  percent defaults, RIAs that include an analysis of global impacts are consistent with

  Circular A-4.

      12. In addition, in the case of climate change, it is reasonable for agencies to

  conclude that the global impacts of greenhouse gases—a global pollutant which is

  being regulated around the world; where non-U.S. emissions affect U.S. citizens; and

  where U.S. emissions affect assets owned by U.S. companies abroad, the millions of

  U.S. citizens living abroad, U.S. military personnel stationed abroad, U.S. companies’

  key foreign trading partners and international supply chains, and geopolitical

  security—would be a legitimate and appropriate focus for analysis, under the criteria

  established in Circular A-4.

      13. Although Circular A-4 constitutes OMB’s guidance on best practices for

  regulatory analysis, that content of Circular A-4 is not mandated by any statute or

  regulation. 3    Circular A-4 outlines recommendations and a set of standardized

  methods for agencies conducting RIAs. In practice, there is necessarily variation on

  how agencies apply and adapt the methodologies described in Circular A-4 to a

  particular regulatory action, and Circular A-4 recognizes the need for that variation.



  3 The Regulatory Right-to-Know Act requires OMB to issue guidelines to standardize the most
  plausible measures of costs and benefits for the purposes of accounting of regulatory costs and
  benefits in OMB’s annual reports to Congress on the total costs and benefits of Federal rules and
  paperwork. 31 U.S.C. § 1105. Although Circular A-4 addresses that requirement and thus was
  issued partly pursuant to the Regulatory-Right-to-Know Act, Circular A-4 clarifies in its introduction
  that its guidance on regulatory analysis (as discussed in text) is provided pursuant to EO 12866.

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  Regulations take a wide variety of forms and address many different issues; as a

  result, RIAs will necessarily vary on a case-by-case basis. By outlining recommended

  practices, Circular A-4 helps facilitate the analytical procedures called for in EO

  12866, which in turn helps bolster the analytical and evidence-based foundations for

  regulatory policymaking.

     14. More specifically, the recommendations set forth in Circular A-4 must always

  yield to any specific statutory requirements or conditions. Accordingly, during our

  reviews of significant regulatory actions, OIRA does not represent or treat Circular

  A-4’s individual provisions as a legally binding requirement on Executive Branch

  agencies, and I am unaware of any court having previously compelled adherence to

  Circular A-4 or any particular interpretation of Circular A-4.

     15. By restricting agencies’ approach to economic analyses, the Preliminary

  Injunction has the potential to substantially undermine the purposes of regulatory

  analysis, and undercuts Circular A-4’s accommodation and encouragement of the

  exercise of agencies’ expert judgment, including in the choice of discount rate and

  scope of analysis.   Circular A-4 is meant to support agencies taking a rigorous

  approach to analyzing the impacts of regulatory actions, which necessarily requires

  that agencies, in consultation with OIRA, deploy their expertise and judgment in

  case-specific contexts. Circular A-4 explains that, because of its “special role in the

  rulemaking process” as a tool to inform the public and government decisionmakers

  about the effects of alternative actions, regulatory analysis should meet “minimum

  quality standards” and be “based on the best reasonably obtainable scientific,



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  technical, and economic information available.” Circular A-4, at 17. Tying agencies’

  hands and preventing their selection of the best available data and methodological

  assumptions—including, for example, on the choice of discount rates—has the

  potential to undermine confidence in the quality of the regulatory analyses.

               IMPACT OF THE COURT’S FEBRUARY 11, 2022 ORDER
              ON ONGOING EXECUTIVE BRANCH AGENCY ACTIVITIES

                     Impact on Agency Rulemakings And Other Actions

      16. The Preliminary Injunction prohibits Defendant agencies from “adopting,

  employing, treating as binding, or relying upon” any work product by the IWG and

  any estimates of the social cost of greenhouse gas emissions that are “based on global

  effects,” “do[] not utilize discount rates of 3 and 7 percent,” or “otherwise do[] not

  comply with Circular A-4.” OMB understands this injunction to require all affected

  RIAs addressing greenhouse-gas effects for pending agency rulemakings and

  published proposed rules to be re-done so that they either do not employ any estimate

  of the social cost of greenhouse gas emissions, or so that they use estimates that are

  developed using the court-ordered parameters. 4 OMB similarly understands this

  injunction to require any other affected not yet finalized agency actions relying upon

  any work product by the IWG to be re-done so that they either do not employ any

  estimate of the social cost of greenhouse gas emissions, or so that they use estimates

  that are developed using the court-ordered parameters.




  4OMB understands the injunction to apply prospectively, and therefore not to reach agency actions
  that have already been finalized.

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     17. In OIRA’s above-described role in coordinating interagency review of

  significant regulations, I have insight into the effect of the February 11, 2022

  Preliminary Injunction (“the Preliminary Injunction”) on the ongoing rulemaking and

  related activities of Executive Branch agencies. Agencies have also provided to OIRA

  additional details about the extent of likely effects to their rulemakings and other

  activities.   In my capacity as OIRA’s Deputy Administrator and based on such

  information, I understand that the Preliminary Injunction would impede a variety of

  pending agency rulemakings and actions. In particular, agencies would be required

  to redirect resources to revise already-drafted proposed rules, regulatory impact

  analyses, and other analyses in support of other agency actions, including in

  instances where a draft rule that incorporates the Working Group’s Interim

  Estimates has already been submitted to OMB for review under E.O. 12866. I

  understand that a significant number of agency rules and actions would need to be

  postponed or reworked as a result of the Preliminary Injunction.

     18. Based upon information made available to me in my official capacity, the

  Department of Energy has initially identified approximately twenty-one rulemakings

  that will be so affected; the EPA has initially identified approximately five; the

  Department of Transportation has initially identified approximately nine; and the

  Department of the Interior has initially identified approximately three.        The

  Department of Transportation has also initially identified approximately sixty

  records of decision or environmental impact analyses required by the National

  Environmental Policy Act (NEPA) that will be so affected; and the Department of the



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  Interior has initially identified approximately twenty-seven such NEPA-mandated

  analyses.

        19. For example, OIRA is currently reviewing a proposed rule from the Bureau of

  Land Management (“BLM”) on Waste Prevention for oil and gas leases on public

  lands. 5 As BLM has explained, the goal of the proposed rule is to reduce the waste of

  natural gas, and BLM has projected an associated reduction in methane emissions. 6

  The proposed rule follows a 2018 rescission of an earlier rule governing the waste of

  natural gas from onshore Federal and Indian oil and gas leases. The 2018 rescission

  rule relied on an estimate of the social cost of methane that considered only

  “domestic” climate effects occurring strictly within U.S. geographic borders. 83 Fed.

  Reg. 49,184 (Sept. 28, 2018). In 2020, the U.S. District Court for the Northern

  District of California found that the domestic-only estimate of the social cost of

  methane had arbitrarily “fail[ed] to consider important aspects of the problem” by

  “ignor[ing],” for example, how methane emissions would affect foreign assets owned

  by U.S. companies, U.S. citizens and military personnel living or stationed abroad,

  effects to U.S. companies through foreign trading partners and international supply

  chains, and geopolitical security. California v. Bernhardt, 472 F. Supp. 3d 573, 613

  (N.D. Cal. 2020). If BLM uses a domestic-only estimate of the social cost of methane,

  which fails to consider these direct impacts to U.S. welfare that methane emissions

  will cause through climate effects occurring outside U.S. borders, I understand that

  BLM would risk violating the California district court’s order.


  5   See https://www.reginfo.gov/public/do/eoDetails?rrid=220412.
  6   See https://www.reginfo.gov/public/do/eAgendaViewRule?pubId=202110&RIN=1004-AE79.

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     20. The Department of Energy (“DOE”) is under a court-ordered deadline to issue

  final energy conservation standards for manufactured housing by May 16, 2022.

  Sierra Club v. Granholm, No. 1:cv-17-02700-EGS (D.D.C. Mar. 15, 2021) (order on

  consent decree). To finalize those standards, DOE must complete its review under

  NEPA, and the 45-day comment period on the draft environmental impact statement

  (“EIS”) will end in approximately two weeks. 87 Fed. Reg. 2430 (Jan. 14, 2022). In

  the draft EIS on the alternative standards being considered for manufactured

  housing, DOE directs the public to review its recent presentations of the various

  alternatives’ climate effects using SC-GHG estimates, to “help the public . . .

  understand or contextualize the potential impacts of GHG emissions” and to “inform

  a comparison of alternatives.” DOE, Draft Environmental Impact Statement for

  Proposed Energy Conservation Standards for Manufactured Housing at 3-13 (2022).

  I understand that public commenters specifically requested DOE to present estimates

  of the SC-GHG in the DEIS to contextualize the alternatives.             Id. at A-8.

  Contextualizing alternatives for the public is a key requirement under NEPA. 42

  U.S.C. § 4332(2)(C)(iii).   If DOE cannot employ the Interim Estimates to help

  contextualize the climate effects of alternative standards in the final EIS, and needs

  to develop new, additional analysis to help properly contextualize those effects, I

  understand it could complicate concluding the environmental review in time to meet

  the court deadline. Similarly, because the manufactured housing standards will have

  significant economic costs, cost savings, and other effects, DOE is required by EO

  12866 to quantify the costs and benefits of alternatives in an RIA to accompany



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  publication of the final standards.    If DOE cannot continue to use the Interim

  Estimates for purposes of its EO 12866 analysis, and in the development of a record

  to support their rulemaking under DOE’s statutory criteria for setting energy

  efficiency standards, the development of a new adequate presentation of all the

  relevant costs and benefits could complicate DOE’s ability to satisfy its requirements

  under EO 12866 and statute in time to meet the court-ordered deadline.

     21. Similarly, I understand, based on information provided to OIRA, that DOI had

  already incorporated the Working Group’s Interim Estimates into its NEPA analysis

  associated with several planned and potential oil and gas lease sales. For some of

  these lease sales, the NEPA materials had already been subjected to a public

  comment period, and the agency had finalized its responses to comments and revised

  its Environmental Assessments to address the public comments as appropriate. For

  example, with respect to planned onshore oil and gas lease sales, revising the NEPA

  analysis would be a burdensome and time-consuming process for the BLM, and,

  following those revisions, the Agency anticipates subsequently recirculating the

  revised analyses for 30 days public comment pursuant to agency practice and

  guidance. Furthermore, in other related contexts, some federal courts have faulted

  agencies for not considering the SC-GHG in their NEPA analyses if other costs and

  benefits, like royalties from coal and oil, have already been monetized.         E.g.,

  WildEarth Guardians v. Bernhardt, No. CV 17-80-BLG-SPW, 2021 WL 363955, at *9

  (D. Mont. Feb. 3, 2021) (explaining that “although NEPA does not require federal

  agencies to engage in a cost-benefit analysis, when an agency chooses to quantify the



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  socioeconomic benefits of a proposed action, it would be arbitrary and capricious for

  the agency to undervalue the socioeconomic costs of that plan by failing to include a

  balanced quantification of those costs,” including by failing to quantify climate costs);

  High Country Conservation Advocates v. U.S. Forest Serv., 52 F. Supp. 3d 1174, 1190,

  1191 (D. Colo. 2014); Mont. Env’t Info. Ctr. v. U.S. Office of Surface Mining, 274 F.

  Supp. 3d 1074, 1094–99 (D. Mont. 2017). Therefore, I understand that BLM risks

  potentially running afoul of other court precedents if it were to monetize other costs

  or benefits, such as coal and oil royalties, but not monetize the climate costs. And

  BLM risks running afoul of the Northern District of California ruling, supra, were it

  to use an estimate of the social cost of greenhouse gases that did not consider key

  impacts to U.S. welfare resulting from climate impacts that happen to occur beyond

  U.S. geographic borders.

     22. Similarly, under the Mineral Leasing Act, BLM permits drilling for oil and

  gas extraction by approving Applications for Permits to Drill (“APDs”), after

  conducting appropriate NEPA analysis and providing for public comment.                  I

  understand that the Injunction has halted work by BLM on APDs for at least 18 wells

  on federal oil and gas leases in New Mexico, as the NEPA analysis being developed

  for these applications would have incorporated the now-enjoined estimates. BLM is

  still assessing how many other applications are similarly affected.

     23. As another example, the Federal Transportation Administration (FTA)

  oversees a $2-3 billion dollar grant program, called the Capital Investment Grants

  (CIG) program. Under FTA’s Final CIG Interim Policy Guidance, which was issued



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  pursuant to notice and comment, applicants must provide environmental analysis

  based on the Interagency Working Group’s 2013 values for the social cost of carbon.

  I understand that, under the Preliminary Injunction, FTA must revise the Final CIG

  Interim Policy Guidance to remove reliance on the Interagency Working Group’s 2013

  values for the social cost of carbon, because those values were based upon the global

  effects of greenhouse gas emissions. But any revision requires notice and comment,

  thus disrupting the CIG program. FTA has estimated this delay could stretch on for

  months.

     24. The cumulative burden of the Preliminary Injunction is quite significant.

  Regulatory impact analyses and analyses in support of other agency actions are often

  very complex and time-intensive studies that agencies can spend months developing

  and refining. Changing the value of key parameters such as discount rates, the social

  cost of greenhouse gases, and other similar numbers would often require agencies to

  re-run numerical models and simulations that they may be using to develop impact

  assessments. Re-doing the regulatory analyses also often would require agencies to

  restart the long process of intra-agency and inter-agency review of the analysis and

  regulatory proposals, which can take even more time. Re-doing the analyses for the

  non-regulatory actions described above (e.g., NEPA actions, grants guidance) would

  similarly tax agency resources.    Because agencies have relatively fixed staffing

  constraints, the human resources needed to re-do an analysis also presents

  significant opportunity costs that could preclude agencies from conducting analysis

  and developing policy on other pressing issues called for by statutes and by



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  Presidential priorities. Such delays could likely include delaying agencies in their

  efforts to offer clarifying guidance to regulated entities, states, and other

  stakeholders; the uncertainty caused by such delays can be costly.

     25. In some instances, the burdens imposed by the Preliminary Injunction go well

  beyond delay and waste of resources. In particular, in the wake of the Preliminary

  Injunction, agencies are now struggling to reconcile their conflicting obligations to

  comply with the Court’s order and with the requirements of the APA and other

  relevant statutes.

     26. For example, a conflict may exist between the Preliminary Injunction and

  agencies’ typical analysis of compliance costs. Agencies typically count all compliance

  costs, even if they accrue to foreign-based corporations or publicly-traded companies

  with significant foreign ownership interests. Yet if agencies are prohibited by the

  Preliminary Injunction from considering, for example, the global climate benefits of

  regulatory actions, it may be inconsistent for agencies to continue considering the

  global compliance costs of those same actions. Agencies then either may be forced to

  attempt to redo their cost estimates to subtract out any costs that would fall to foreign

  shareholders of publicly traded companies—a practically challenging and sometimes

  unrealistic endeavor that could decrease transparency about total compliance costs—

  or else risk proceeding with an analysis that counts some non-domestic costs, but

  restricts the analysis and consideration of global benefits. In any case, based on my

  understanding of the issues that agencies are considering, agencies are spending

  considerable resources and delaying a myriad of regulatory actions as they fully



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  consider the implications of a changed scope of analyses, due to the Preliminary

  Injunction.

       Impact on Internal Agency Activities and Executive Branch Coordination

     27. In addition to prohibiting Executive Branch agencies from “adopting,

  employing, treating as binding, or relying upon” the work of the IWG and any

  estimates of the social cost of greenhouse gas emissions based on global effects and

  discount rates of 3 and 7 percent, the Preliminary Injunction also prohibits agencies

  from “[r]elying upon or implementing Section 5 of Executive Order 13990 in any

  manner.” The Executive Branch understands this order could be read to prohibit

  Defendant agencies from using the work of the IWG even in their internal

  deliberations.

     28. Based on my personal knowledge and information made available to me in my

  official capacity, the Court’s February 11, 2022 order has also disrupted the

  functioning of multiple Cabinet agencies, including in the Office of Management and

  Budget. In light of the breadth of the Court’s order, staff across the affected agencies

  were suddenly put in the position of having to assess how to stop attending meetings

  or developing work product that bore some relation to the social cost of greenhouse

  gases. This range of impacted work included ordinary budgetary discussions, work

  on proposed regulatory actions, reviews of regulatory actions targeted for publication,

  and even the agendas of meetings that may have touched on these issues.




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      29. For example, as a result of the Preliminary Injunction, agencies including the

  EPA have cancelled or postponed all-staff webinar training sessions at which the

  IWG’s work or the social costs of greenhouse gases were to be discussed.

      30. As another example, to ensure compliance with the Preliminary Injunction,

  OMB has instructed agencies not to send comments on sections of draft documents

  that refer to the social cost of greenhouse gas emissions.

      31. Federal government scientists and other experts, like those working at DOE’s

  national laboratories, produce a variety of public and internal research reports, and

  are under multiple obligations to use the best available scientific, economic, and

  technological findings and otherwise ensure the quality and integrity of all their

  publications. See e.g., Dep’t of Energy, Scientific Integrity Policy (Jan. 4, 2017), 7

  OMB, M-19-15, Memorandum on Improving Implementation of the Information

  Quality Act (Apr. 24, 2019); Presidential Memorandum on Restoring Trust in

  Government Through Scientific Integrity and Evidence-Based Policymaking (Jan. 27,

  2021).   The Preliminary Injunction could prevent federal scientists from citing,

  referencing, or otherwise using the best available science, including that contained in

  various IWG work products. And the Preliminary Injunction suspends EO 13990

  implementation, including the process explicitly designed to ensure the SC-GHG

  estimates are informed by the latest science and economics.                 As a result, the

  Preliminary Injunction could force federal scientists to violate various scientific



  7Available at
  https://energy.gov/sites/prod/files/2017/01/f34/DOE%20Scientific%20Integrity%20Policy%200111201
  7.PDFDOE Scientific Integrity Policy (energy.gov).

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  integrity policies that require use of the best available information, and so could

  interfere with the free flow of research information to the scientific community and

  the public.

      32. In addition, based on information made available to me, I understand that the

  harms to the Executive Branch from the Preliminary Injunction could be particularly

  acute when it comes to the President’s conduct of foreign affairs. As E.O. 13990

  explained, a full accounting of climate impacts “supports the international leadership

  of the United States on climate issues.” The Preliminary Injunction has interrupted

  bilateral discussion important to the President’s conduct of foreign affairs.

      33. For example, in 2016, the United States announced that it would align its

  estimates of the social cost of carbon with Canada. 8 Canada has long adapted the

  IWG’s methodology for use in their own analysis, and in fact has long looked to the

  United States in particular as a partner in advocating for rigorous cost-benefit

  analysis through our longstanding Regulatory Cooperation Council dialogues. 9

  Canada has recently begun updating its own SC-GHG estimates, see IWG, Technical

  Support Document: Social Cost of Carbon, Methane, and Nitrous Oxide—Interim

  Estimates under Executive Order 13990 at 35 (2021), and the IWG’s technical experts

  had been engaging in regular, ongoing conversations with Canada about these efforts.

  In light of the Preliminary Injunction, the IWG’s technical experts have ceased




  8 See https://obamawhitehouse.archives.gov/blog/2016/06/29/economic-benefits-50-percent-target-
  clean-energy-generation-2025.
  9 See, e.g., https://publications.gc.ca/collections/collection_2016/eccc/En14-202-2016-eng.pdf and

  https://canadagazette.gc.ca/rp-pr/p1/2020/2020-12-19/html/reg2-eng.html. And for more general
  information on Regulatory Cooperation, see https://www.trade.gov/rcc

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  communication with their counterparts in Canada. To date, Canada has followed the

  U.S. IWG’s approach and adopted a “global perspective” in its estimates of the SC-

  GHG, considering how its emissions impact the rest of the world, including U.S.

  welfare. 10    However, if the Interagency Working Group is now prohibited from

  considering global climate effects, were Canada to follow suit and consider Canada-

  only estimates of the social cost of greenhouse gases—and so ignore the impacts of

  Canadian emissions to the United States and the rest of the world—U.S. welfare

  could suffer.

      34. The United States also has an interest in engaging in other international

  discussions involving the SC-GHG. The United States has dozens of bilateral

  agreements on science and technology with key foreign partners, like Germany, 11 and

  holds regular discussions with countries on the science, technology, and economics of

  climate change and energy policy. 12 The Preliminary Injunction threatens to curtail

  what materials the federal government can rely upon in preparing for such meetings

  and has the potential to undercut the federal government’s ability to fully engage in

  international dialogues and to advocate for U.S. interests in discussions of climate

  economics and related topics. Similarly, the United States has an interest in engaging

  in multilateral discussions, such as on the energy policy reviews conducted by the




  10 See https://publications.gc.ca/collections/collection_2016/eccc/En14-202-2016-eng.pdf at 1; see also

  id. at 12 (“Key decisions of the U.S. Group, such as the use of global values…were consistent with
  insights from climate science.”); id. at 13 (“Although both countries will feel the impacts of climate
  change differently, the costs included in the Social Cost of Carbon are global in nature.”).
  11 See https://www.state.gov/wp-content/uploads/2020/08/TIF-2020-Full-website-view.pdf.
  12 E.g., https://www.state.gov/us-france-science-technology-cooperation (Dec. 7, 2021).




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  Asian Development Bank that consider the social cost of carbon. 13                     This raises

  questions as to whether technical experts can engage in productive dialogues with

  Canada, Germany, and other international counterparts.

       Impact on the Interagency Working Group on Social Cost of Greenhouse Gases

       35. In addition, in prohibiting Executive Branch agencies from “[r]elying upon or

  implementing Section 5 of Executive Order 13990 in any manner,” the Preliminary

  Injunction has effectively shuttered the Interagency Working Group (IWG).                        As

  discussed above, and as clarified in EO 13990, the task of the IWG, which is made up

  primarily of technical experts from at least 14 different agencies and offices, is to

  ensure that the information the government considers about climate change is based

  on the latest economics and science.

       36. As a first step in this process, the IWG released a Technical Support Document

  (interim TSD) on February 26, 2021, which provides an interim update of SC-GHG

  estimates using identical methods and inputs to those presented in the 2016 version

  of the TSD, including the same three peer-reviewed integrated assessment models in

  use since 2010. See IWG, 2021 Interim TSD, supra. The interim TSD also discusses

  the scientific and economic advances that have been made since the time of the last

  updates to the SC-GHG estimates.

       37. Next, the IWG has requested and received detailed public comment on the

  interim TSD, including much diverse input and advice on how to best incorporate the

  latest peer-reviewed science and economics literature into an updated set of SC-GHG


  13See https://www.adb.org/sites/default/files/institutional-document/737086/energy-policy-r-paper.pdf
  at 11. Note that the United States is a nonregional member of the Asian Development Bank.

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  estimates. The goal of the next update is to be reflective of updated science and

  economics in general, and also to address the 2017 Recommendations of the National

  Academies of Sciences, Engineering, and Medicine for how to value climate damages.

     38. Since that public solicitation, a group of dozens of technical experts had been

  synthesizing and summarizing that detailed input, running models, summarizing

  information, and generally working intensely toward the goal of providing updated

  estimates in the next couple of months. In addition, Section 5 of EO 13990 calls for

  recommendations with respect to the use of updated estimates in budgeting and

  procurement, which an interagency group is also working to provide.

     39. Finally, it is important to note that the IWG intends to subject the next set of

  estimates to additional public comment, as well as peer review. This means that

  there will be an additional opportunity for both general and expert input into

  whatever specific discount rate or rates are chosen, as well as the geographic scope of

  the updated estimates. In fact, the process for convening the peer review was already

  underway: on January 25, 2022, EPA published a request for nominations of experts

  for the peer review. 87 Fed. Reg. 3801 (Jan. 25, 2022). Under the Preliminary

  Injunction, that important process to independently review the IWG’s work, including

  through the selection of experts by an independent contractor hired for that purpose,

  is now stopped.

     40. As a result of the Preliminary Injunction, all this effort has ceased, affecting

  the ability of the Federal government to avail itself of the latest scientific and

  economic information in decision making, including by hampering the ability of the



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  President’s advisors to provide him with the most up-to-date information on the

  impacts of climate change.

     41. The Preliminary Injunction would also likely lead to government resource

  waste related to federal contracting costs. To manage the IWG’s responsibilities

  under EO 13990, the IWG’s technical lead agency has hired four contractors, with a

  number of associated sub-contractors included in that effort. Three of the contracts

  are fixed price and offer technical support to help manage the data-intensive

  modeling efforts, including use of super-computer resources not available in the

  federal government. I understand there is a risk the federal government likely would

  be responsible for full payment on these contracts, even if the IWG’s work is paused.

  It is therefore further possible that, if the IWG is permitted at some point in the

  future to resume work on some set of SC-GHG estimates, the federal government

  may need to commit additional resources to enter into new contracts to complete the

  work that was left incomplete during this pause.           A fourth contractor, who is

  managing the public comment and peer review process, bills based on time and

  materials expended. The resource costs in that circumstance are related to losses in

  retaining viable peer review candidates and continuity in the peer review process.

  Finally, general wasted resources will accrue not only for IWG contractors but also to

  any federal agency that contracts for RIA or EIS support as a result of pausing and

  potential restarting of efforts as a result of this injunction.




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        I certify under penalty of perjury that the foregoing is true and correct to the

  best of my knowledge and belief.

        Executed this 19th day of February, 2022




                                                      DOMINIC J. MANCINI




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